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 1   Stephen M. Lobbin (SBN 181195)
     sml@smlavvocati.com
 2   Austin J. Richardson (SBN 319807)
     ajr@smlavvocati.com
 3   SML AVVOCTI P.C.
     888 Prospect Street, Suite 200
 4   San Diego, California 92037
     Tel: 949.636.1391
 5
     Attorneys for Plaintiff
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 7                           THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
     ROTHSCHILD BROADCAST
 9   DISTRIBUTION SYSTEMS, LLC,
10                 Plaintif,
                                                          CIVIL ACTION NO. 3:21-cv-2685
11   v.
12                                                        JURY TRIAL DEMANDED
     BLUE JEANS NETWORK, INC.,
13
                    Defendant.
14

15

16                                            COMPLAINT

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             Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild
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     Broadcast Distribution Systems”) files this complaint against Blue Jeans Network, Inc. (“BJNI”)
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20   for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and alleges as

21   follows:

22                                              PARTIES
23   1.      Plaintiff is a Texas limited liability company with an office at 1 East Broward Boulevard,
24
     Suite 700, Ft. Lauderdale, FL 33301.
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     2.      On information and belief, Defendant is a Delaware corporation, with a place of business
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     at 275 Battery Street, Suite 1350, San Francisco, CA 94111.          On information and belief,
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 1   Defendant may be served through its agent, The Corporation Trust Company, Corporation Trust
 2   Center, 1209 Orange St., Wilmington, DE 19801.
 3
                                      JURISDICTION AND VENUE
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     3.       This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.
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     Plaintiff is seeking damages, as well as attorney fees and costs.
 6

 7   4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

 8   1338(a) (Patents).

 9   5.       On information and belief, this Court has personal jurisdiction over Defendant because
10   Defendant has committed, and continues to commit, acts of infringement in this District, has
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     conducted business in this District, and/or has engaged in continuous and systematic activities in
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     this District.
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     6.       Upon information and belief, Defendant’s instrumentalities that are alleged herein to
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15   infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

16   7.       Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to

17   be a resident in this District. Alternatively, acts of infringement are occurring in this District and
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     Defendant has a regular and established place of business in this District.
19
                                              BACKGROUND
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     8.       On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and
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     legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in a
22

23   Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

24   The ‘221 Patent is attached as Exhibit A.
25   9.       Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.
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     10.      Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221
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     Patent, including the exclusive right to recover for past, present and future infringement.
28

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 1   11.      The `221 Patent contains thirteen claims including two independent claims (claims 1 and
 2   7) and eleven dependent claims.
 3
                                              COUNT ONE
 4                          (Infringement of United States Patent No. 8,856,221)

 5   12.      Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set
 6   forth herein.
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     13.      This cause of action arises under the patent laws of the United States and, in particular
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     under 35 U.S.C. §§ 271, et seq.
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     14.      Defendant has knowledge of its infringement of the `221 Patent, at least as of the service of
10

11   the present complaint.

12   15.      The ‘221 Patent teaches a method and apparatus for media content storage and delivery.

13   ‘221 Patent, Abstract. Among other things, the claimed system includes a server, which has a
14   receiver in communication with a processor. Id. The receiver receives a request message. Id. The
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     request message includes media data indicating requested media content and a consumer device
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     identifier corresponding to a consumer device. Id. The processor determines whether the consumer
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     device identifier corresponds to a registered consumer device. Id. If the processor determines that
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19   the consumer device identifier corresponds to the registered consumer device, then the processor

20   determines whether the request message is one of a storage request message and a content request

21   message. Id. If the request message is the storage request message, then the processor is further
22
     configured to determine whether the requested media content is available for storage. Id. If the
23
     request message is the content request message, then the processor initiates delivery of the
24
     requested media content to the consumer device. Id.
25
     16.      The present invention solves problems that existed with then-existing media delivery
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27   systems. One problem with prior delivery systems is that the customer was charged according to

28   the expenses of the provider rather than the usage of the customer.            ‘221 Patent, 1:31-57.

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 1   Customers were not charged based on the amount of programming delivered or the amount or
 2   duration of the customer’s storage of media. Id. Another such problem, more generally, is that
 3
     customers were not billed and services were not provided, in a way that was tailored to the
 4
     customer’s needs and usage. Id., 2:3-13.
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     17.      A number of aspects of the invention(s) embodied in the ‘221 Patent overcome the
 6

 7   problems with the prior art.      For example, the inventive system includes a processor in

 8   communication with a receiver. Id., 2:23-34.           The processor determines media content

 9   characteristics that correspond to the media content to be stored. Id. The processor determines a
10   length of time to store the media content based on the media data and determines a cost amount
11
     based at least in part on the determined media content characteristics and length of time to store
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     the media content. Id. As another example, the system makes a determination that media content
13
     is available for download. Id., 2:64-3:2. A determination is made that content is not stored.
14

15   Download of the media content is initiated. Id. The media content is received and the received

16   media content is stored. Id.

17   18.      The ‘221 Patent is directed to computerized technologies to provide users with tailored
18
     media delivery systems and tailored billing for such systems. Among other things, the ‘221 Patent
19
     claims include sending and receiving of request messages indicating requested media content and
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     including a device identifier corresponding to a consumer device. A determination is made
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     whether the identifier corresponds to the device. A determination is also made as to whether the
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23   request is for delivery or storage. The media data in the request includes time data that indicates a

24   length of time for storage. A processor is configured to determine whether requested media exists
25   and whether there are any restrictions associated with delivery or storage of the requested media.
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     19.      The system(s) and methods of the ‘221 Patent include software and hardware that do not
27
     operate in a conventional manner. For example, the software is tailored to provide functionality to
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 1   perform recited steps and the processor is configured (and/or programmed) to provide
 2   functionality recited throughout the claims of the ‘221 Patent.
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     20.      The ‘221 Patent solves problems with the art that are rooted in computer technology and
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     that are associated with electronic transmission, loading, and storage of location information, as
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     well as automatic provisioning of route guidance. The ‘221 Patent claims do not merely recite the
 6

 7   performance of some business practice known from the pre-Internet world along with the

 8   requirement to perform it on the Internet.

 9   21.      The improvements of the ‘221 Patent and the features recited in the claims in the ‘221
10   Patent provide improvements to conventional hardware and software systems and methods. The
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     improvements render the claimed invention of the ‘221 Patent non-generic in view of conventional
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     components.
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     22.      The improvements of the ‘221 Patent and the features recitations in the claims of the ’221
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15   Patent are not those that would be well-understood, routine or conventional to one of ordinary skill

16   in the art at the time of the invention.

17   23.      Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in
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     violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and continues
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     to infringe one or more claims, including at least Claim 7, of the ‘221 Patent by making, using,
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     importing, selling, and/or offering for media content storage and delivery systems and services
21
     covered by one or more claims of the ‘221 Patent.
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23   24.      Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

24   services, including, without limitation, the BlueJeans video conferencing platform, any associated
25   hardware, software and apps, as well as any similar products (“Product”), which infringe at least
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     Claim 7 of the ‘221 Patent.
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 1   25.      The Product practices a method of storing (e.g., cloud storage) media content (e.g.,
 2   conference recording) and delivering requested media content (streaming video conferencing,
 3
     recorded videos, chats, texts, etc.) to a consumer device (e.g., mobile device with BlueJeans app or
 4
     software). Certain aspects of these elements are illustrated in the screenshots below and/or in those
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     provided in connection with other allegations herein.
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17   26.      The Product necessarily includes a receiver configured to receive a request message

18   including data indicating requested media content (e.g., the Product must have infrastructure to

19   receive a request to store recorded media content or to stream recorded media content on a
20
     smartphone; additionally, the request message must contain data that identifies the content to be
21
     stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the
22
     user credentials are used to access the contents of the Product). Certain aspects of these elements
23
     are illustrated in the screenshots below and/or in those provided in connection with other
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25   allegations herein.

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     27.    The Product necessarily determines whether the consumer device identifier corresponds to
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21   the registered consumer device (e.g., a user must be a registered user to access the Product’s

22   services). Certain aspects of these elements are illustrated in the screenshots below and/or in those
23   provided in connection with other allegations herein.
24
     28.    The Product provides for both media downloads and/or storage, and media streaming.
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     After a successful login, the Product necessarily determines whether the request received from a
26
     customer is a request for storage (e.g., recording or storing content) or content (e.g., streaming of
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 1   media content). Certain aspects of these elements are illustrated in the screenshots below and/or in
 2   those provided in connection with other allegations herein.
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15   29.    The Product verifies that media content identified in the media data of the storage request
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     message (e.g., request to record content) is available for storage in order to prevent data errors that
17
     would result from attempting to store content that is not available for storage. The Product must
18
     verify that the media content (e.g. specific recording) identified in the media data of the storage
19

20   request message is available for storage in order to prevent data errors that would result from

21   attempting to store content that is not available for storage (e.g., the product must verify a user’s

22   ability to store media content is limited to a certain amount of time). If any media content is
23   streamed using a third party platform then it will be automatically stored in that particular
24
     platform. Certain aspects of these elements are illustrated in the screenshots below and/or in those
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     provided in connection with other allegations herein.
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20   30.     If a customer requests content (e.g., live streaming of media content), then a processor

21   within the Product necessarily initiates delivery of the content to the customer’s device. The
22
     Product will initiate delivery of the requested media content to the consumer device (e.g., stream
23
     media content feed to a smartphone or tablet etc.) if the request message is a content request
24
     message (e.g., request for live streaming). Certain aspects of these elements are illustrated in the
25
     screen shots below and/or in screen shots provided in connection with other allegations herein.
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 1   31.       The media data includes date and time information to identify conference start and stop
 2   times, as well as meeting length. Time data may also indicate a length of time to store the
 3
     requested media content (e.g. a user is allowed to store media content for a retention period
 4
     configured by the user per their subscription level). Certain aspects of these elements are
 5
     illustrated in the screenshots below and/or in those provided in connection with other allegations
 6

 7   herein.

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22   32.       The Product must first determine whether the requested media content exists prior to
23
     initiating delivery in order to prevent data errors that would result from attempting to transmit
24
     media content that does not exist (e.g., the product must verify that a particular requested data is
25
     stored in the cloud). Also, a user can view the history of media content and the processor can
26

27   identify the existence of that particular media content. Certain aspects of these elements are

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 1   illustrated in the screenshots below and/or in those provided in connection with other allegations
 2   herein.
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15   33.     After the processor determines whether the requested media content is available, it
16   determines whether there are restrictions associated with the requested media content (e.g., user
17
     access restrictions, etc.). Certain aspects of these elements are illustrated in the screenshots below
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     and/or those provided in connection with other allegations herein.
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16   34.      Defendant’s actions complained of herein will continue unless Defendant is enjoined by this

17   Court.
18   35.   Defendant’s actions complained of herein is causing irreparable harm and monetary damage
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     to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this
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     Court.
21
     36.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35
22

23   of the United States Code.

24   37.       A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

25   Cloud-based Computing Environment,” is attached hereto as Exhibit A.
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     38.       By engaging in the conduct described herein, Defendant has injured Plaintiff and is liable
27
     for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
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                                                     -25-                                     COMPLAINT
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 1   39.      Defendant has committed these acts of literal infringement, or infringement under the
 2   doctrine of equivalents of the `221 Patent, without license or authorization.
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     40.      As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has suffered
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     monetary damages and is entitled to a monetary judgment in an amount adequate to compensate
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     for Defendant’s past infringement, together with interests and costs.
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 7   41.     Plaintiff is in compliance with 35 U.S.C. § 287.

 8   42.      As such, Plaintiff is entitled to compensation for any continuing and/or future infringement

 9   of the `221 Patent up until the date that Defendant ceases its infringing activities.
10                                      DEMAND FOR JURY TRIAL
11
     43.      Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil
12
     Procedure, requests a trial by jury of any issues so triable by right.
13
                                           PRAYER FOR RELIEF
14

15   WHEREFORE, Plaintiff asks the Court to:

16   (a)    Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;

17   (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and
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     all persons in active concert or participation with Defendant who receives notice of the order from
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     further infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding
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     Plaintiff running royalty from the time judgment going forward);
21
     (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35
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23   U.S.C. § 284;

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 1   (d)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or
 2   equity.
 3

 4
     Dated: April 14, 2021                                Respectfully submitted,
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                                                          /s/ Stephen M. Lobbin
 6                                                        ATTORNEYS FOR PLAINTIFF

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